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                                  Nos. 15-1200; 15-1501                  FILED
                                   Filed: May 27, 2016
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      * * * * * * * * * * * * * * * * * * *                           U.S. COURT OF
                                              *                      FEDERAL CLAIMS
    JULIAN R. HOOD, JR.,
                                              *
                    Plaintiff,                *   Pro Se Plaintiff; In Forma Pauperis;
                                              *   Motion to Dismiss; 28 U.S.C. § 1500;
             v.
                                              *   RCFC 11 Sanctions; 28 U.S.C. § 2501.
    UNITED STATES,                            *
                    Defendant.                *
                                              *
      * * * * * * * * * *   ******** *
        Julian R. Hood, QIQ se, Escondido, CA.

        Daniel K. Greene, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant (Case Number 15-
1200). Amanda L. Tantum, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant (Case Number 15-
1501 ). Also with them were Martin F. Hockey, Jr., Assistant Director, Reginald T.
Blades, Assistant Director, Robert E. Kirschman, Jr., Director, Commercial Litigation
Branch, Benjamin C. Mizer, Principal Deputy Assistant Attorney General, Civil Division,
Department of Justice, Washington, D.C.

                                       OPINION

HORN, J.

                                   FINDINGS OF FACT

        This case addresses Case Number 15-1501 and Case Number 15-1200 filed by
QIQ se plaintiff Julian R. Hood in the United States Court of Federal Claims. Mr. Hood filed
his complaint in Case Number 15-1200 on October 15, 2015. Less than two months later,
on December 11, 2015, Mr. Hood filed a second, similar complaint in Case Number 15-
1501, which appears to arise from the same set of facts as Case Number 15-1200. In
fact, Mr. Hood has filed multiple, often defective, complaints 1 in this court and in other
federal courts.

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  Plaintiff previously filed a complaint in the United States Court of Federal Claims, Case
Number 15-1158, which was dismissed after plaintiff failed to pay the filing fee. See Hood
v. United States, 1:15-cv-01158 (Fed. Cl. Feb. 26, 2016). Plaintiff also has filed at least
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sixteen other complaints in federal courts. For example, between 2014 and 2015, Mr.
Hood filed numerous complaints in the United States District Court for the Western District
of Michigan. The following actions are no longer pending: Hood v. United States, 1:15-
cv-02193 (D.D.C. May 6, 2016) (transferred to the United Stated District Court for the
Western District of Michigan); Hood v. Office of Personnel Mgmt., 1:15-cv-00418 (W.D.
Mich. July 20, 2015) (plaintiff's claim that the Office of Personnel Management wrongfully
denied him life insurance benefits was dismissed as unnecessarily duplicative of case
No. 1:15-cv-609); Hood v. United States Postal Serv., 1:14-cv-01104 (W.D. Mich. July 10,
2015) (plaintiff's claims of violation of the Rehabilitation Act of 1973 were barred by the
Settlement Agreement and subject to dismissal as untimely and for failure to exhaust
administrative remedies); Hood v. Donahoe, 1: 14-cv-01180 (W.D. Mich. July 10, 2015)
(plaintiff's claims of employment discrimination and retaliation were barred by the
Settlement Agreement because 42 U.S.C. § 1983 claims may not be brought against
federal agencies, and for failure to state a claim upon which relief may be granted); Hood
v. Donahoe, 1:14-cv-01181 (W.D. Mich. July 10, 2015) (plaintiff's claims of violation of his
equal protection and due process rights were barred by the Settlement Agreement and
because 42 U.S.C. § 1983 claims may not be brought against federal agencies); Hood v.
Donahoe, 1:14-cv-01182 (W.D. Mich. July 10, 2015) (Mr. Hood's claims of race
discrimination were barred by the Settlement Agreement and subject to dismissal for lack
of judicial remedy under 42 U.S.C. § 1981 and for failure to timely exhaust claims); Hood
v. Donahoe, 1:14-cv-01183 (W.D. Mich. July 10, 2015) (plaintiff's claims of disability
discrimination were barred by the Settlement Agreement and subject to dismissal for lack
of timely exhaustion); Hood v. Donahoe, 1:14-cv-01195 (W.D. Mich. July 10, 2015)
(plaintiff's claims of Title VII employment discrimination were barred by the Settlement
Agreement and subject to dismissal for lack of timely exhaustion); Hood v. United States
Postal Serv., 1: 15-cv-00436 (W.D. Mich. May 28, 2015) (plaintiff's claims of conspiracy
to commit fraud between the United States Postal Service and Michigan Postal Workers
Union Area Local #281, breach of American Postal Workers Union's duty of fair
representation, and legal malpractice and fraud by the USPS attorney were dismissed
as untimely and because Mr. Hood failed to allege the conspiracy claims with specificity);
Hood v. United States Postal Serv., 1:15-cv-00434 (W.D. Mich. May 15, 2015) (plaintiff's
claim of violation of the Family Medical Leave Act, 29 U.S.C. § 2601, was barred by the
statute of limitations); Hood v. United States Postal Serv., 1:15-cv-00435 (W.D. Mich. May
15, 2015) (plaintiff's claims that the United States Postal Service violated the collective
bargaining agreement and that the Defendant Union breached its duty of fair
representation were time barred). Plaintiff also appears to have active cases pending in
multiple jurisdictions, including: Hood v. United States, 1:15-cv-01278 (W.D. Mich. filed
Dec. 10, 2015); Hood v. United States, 1:15-cv-01279 (W.D. Mich. filed Dec. 10, 2015);
Hood v. United States, 1:15-cv-01247 (W.D. Mich. filed Nov. 30, 2015); Hood v. Office of
Personnel Mgmt., 1:15-cv-00609 (W.D. Mich. filed June 10, 2015). Another case filed by
Mr. Hood was transferred from the United States District Court for the Southern District
of New York, Hood v. United States, 1:16-cv-01150 (S.D.N.Y. May 12, 2016), to this court
and assigned to the undersigned on May 12, 2016. See Hood v. United States, 1:16-cv-
00570 (May 12, 2016). As of this date, no transfer amended complaint has been filed by
Mr. Hood pursuant to Rule 3.1 (a)(4) of the Rules of the United States Court of Federal
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        According to plaintiff's complaints, he appears to have been hired by the United
States Postal Service (USPS) as a mail processing clerk on October 23, 1999. Plaintiff
alleges that, during his employment with the USPS, he suffered from numerous medical
disabilities, including post-traumatic stress disorder (PTSD), depression, and anxiety,
which, according to plaintiff, required occupational accommodations in the form of time
off, hours restrictions, and work-site preferences. Plaintiff and the USPS struggled to
reach a consensus employment arrangement that would accommodate plaintiff's alleged
conditions. Ultimately the USPS issued Mr. Hood a notice of removal in August 2003 for
attendance-related issues. On April 21, 2004, the USPS removed Mr. Hood from
employment.

       According to the filings before the court, on November 18, 2005, plaintiff entered
into a Settlement Agreement with the USPS in which Mr. Hood waived his rights to all
claims, including employment discrimination claims, against the USPS, with the exception
of Mr. Hood's then-pending claim under the Federal Employees' Compensation Act
(FECA), 5 U.S.C. §§ 8101-8193 (2012). In return, the USPS agreed to change the
description of Mr. Hood's discontinuation of employment from "termination" to
"resignation" on the Standard Form 50 (SF-50) Notification of Personnel Action contained
in Mr. Hood's personnel file. The USPS also agreed to pay Mr. Hood compensatory
damages and attorney's fees. The USPS claims to have fulfilled its obligations under the
Settlement Agreement by making all necessary payments to Mr. Hood. Defendant asserts
that, on December 15, 2005, the defendant changed Mr. Hood's SF-50 to state that he
had "resigned his position effective 04-21-04." Plaintiff's complaints in Case Number 15-
1200 and Case Number 15-1501 allege that defendant committed various breaches of
the Settlement Agreement between Mr. Hood and the USPS.

       Case Number 15-12002

        In Case Number 15-1200, plaintiff makes several, not always clear, allegations,
including: "breach of express contract and implied in fact contract," breach of "the
covenant good faith and fair dealings," "misrepresentation and fraudulent concealment,"
and "conspiracy." 3 Plaintiff alleges that between 2006 and 2008, the USPS breached the
Settlement Agreement on at least three separate occasions by stating that Mr. Hood's
employment ended as the result of termination, rather than as a voluntary resignation.
Specifically, plaintiff alleges that on August 28, 2006, USPS Injury Compensation Office
employee, Lee Bosch, represented on a Department of Labor Form CA-7, Claim for


Claims (RCFC) (2016), and the case is not yet properly before the court. Therefore, this
opinion only addresses Case Numbers 15-1501 and 15-1200.
2Plaintiff filed a complaint, an amended complaint, and a second amended complaint in
Case Number 15-1200. The allegations discussed herein are comprehensive of plaintiff's
multiple complaints.

3Capitalization, grammar, punctuation, and other errors quoted in this opinion are as they
appear in plaintiff's submissions.
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Compensation (CA-7), that Mr. Hood had been terminated on April 21, 2004. Plaintiff
alleges that on September 12, 2006, Mr. Bosch again stated that Mr. Hood had been
terminated. Plaintiff further alleges that USPS Health and Resource Management
Specialist Theresa Miller sent the Department of Labor Office of Workers' Compensation
Program a Department of Labor CA-7a Time Analysis Form (CA-7a) "stat[ing] that I was
terminated from employment 173 times on September 8, 2008 well after the settlement
agreement."

        Plaintiff alleges that defendant breached the implied covenant of good faith and
fair dealing contained in the Settlement Agreement. Plaintiff also alleges that by agreeing
to withdraw his Equal Employment Opportunity Commission (EEOC) complaint and any
potential, future complaints in exchange for the USPS changing his removal status to
resignation, an implied in fact contract was created between himself and the USPS.
Plaintiff alleges that the USPS breached the implied-in-fact contract and the covenant of
good faith and fair dealing by failing to change his SF-50 reporting his discontinuation of
employment status from termination to resignation and by publicly conveying that he had
been terminated after the Settlement Agreement was signed.

        Plaintiff further alleges that the USPS violated his First Amendment right to
freedom of speech by terminating his employment in response to plaintiff filing a complaint
with the EEOC "protesting discrimination and abuse in regards to my employment."
Plaintiff also alleges that the USPS denied him equal protection and due process when
his employment was terminated, because the decision was "arbitrary, capricious, without
factual support and contrary to law." According to plaintiff, when the USPS terminated his
employment, plaintiff suffered "great physical and mental pain and anguish" and "severe
permanent economic injury."

        Moreover, plaintiff alleges that, between 2001 and 2004, the USPS fraudulently
concealed relevant information pertaining to plaintiff's qualification for protection under
the Family and Medical Leave Act of 1993 (FMLA) and deliberately mislead an FMLA
investigator, resulting in denial of FMLA coverage to plaintiff. Plaintiff alleges that, as a
result of his being denied FMLA benefits, the Settlement Agreement was entered into as
"the result of duress, undue influence, and bad faith on the part of the agency." Similarly,
plaintiff alleges that the USPS fraudulently concealed his FECA claim by negligently
processing his United States Department of Labor Office of Workers' Compensation
Program (OWCP) documents and improperly representing plaintiff's removal status as
terminated on the OWCP documents.

      In addition, plaintiff alleges that "[t]he agency entered into a conspiracy with the
Union and my attorney, who was a US Postal Service attorney, the year prior to accepting
my case." Plaintiff alleges that the Union intentionally provided inadequate legal
representation and that his attorney's social relationship with the USPS attorney was
improper.

        In his complaint in Case Number 15-1200, plaintiff alleges that in this court
jurisdiction is proper pursuant to 28 U.S.C. § 1491 because the "action is within the Tucker


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Act jurisdiction of the Court of Federal Claims," and because the amount in controversy
exceeds $10,000.

        Defendant filed a motion to dismiss Case Number 15-1200, asserting that this
court lacks jurisdiction to hear plaintiff's claims, that plaintiff's contract claims are time-
barred by 28 U.S.C. § 2501 (2012), and that plaintiff has failed to state a claim upon which
relief may be granted.

       Case Number 15-501

       On December 11, 2015, plaintiff filed a second and separate complaint in this
court, Case Number 15-1501, alleging a "regulatory and physical taking of private
property," "violations of Plaintiffs Fifth and Fourteenth Amendment rights," a breach of
"Common Law Promissory Estoppel I Quasi contract," "denial of equal protection and due
process of laws," "breach of promise to accommodate," and "breach of implied covenant
of good faith and fair dealing for failure to provide equal protection in the workplace" by
the USPS.

        In Case Number 15-1501, plaintiff alleges a regulatory taking because, according
to plaintiff, in April 2004, the USPS violated its "statutory and contractual requirement's
imposed by the Family Medical Leave Act ('FMLA') of 1993, Federal Employee's
Compensation Act ('FECA'), and the CBA [Collective Bargaining Agreement]" by
accelerating "Plaintiffs wrongful termination in an effort to deprive him of his rights to life,
liberty, and property (Job) to reissue it to the public." Plaintiff also alleges that defendant
committed a physical taking in April 2004, "[b]y confiscating, depriving, and wrongfully
terminating Plaintiffs employment, Defendant has taken Plaintiff's private property for
public use without just compensation, in violation of the Fifth Amendment to the
Constitution of the United States."

      Plaintiff further alleges that he was "denied due process of the law" as a
consequence of the USPS'

       intentional and willful omissions, concealment of facts, misrepresentations,
       and fraud upon the U.S. Department of Labor ("US DOL") Wage and Hour
       Division (WHO) and Office of Workers' Compensation Program (OWCP),
       and the U.S. Equal Employment Opportunity Commission (US EEOC)
       whom responsibilities are to adjudicate administrative claims.

Plaintiff continues by alleging that the USPS concealed the existence of his claims and
key information relating to his health from the investigators for the Department of Labor
and EEOC when in 2004, and again from 2006 to 2008, the USPS delayed processing of
his Form CA-7. Plaintiff also alleges that the USPS "did not offer [plaintiff] equal
protection," because he was denied "a fair procedural process ." As proof, plaintiff
compares his treatment with the treatment of two other USPS employees, who, allegedly,
worked in the same position, in the same department, and with the same supervisors as
plaintiff, yet, allegedly, were treated more fairly regarding disabilities and absences from


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work. Plaintiff alleges that "sex (male), color (black), and race (African-American)," as well
as his decision to file his EEOC complaint and FECA claim, motivated USPS to treat him
less fairly.

        Plaintiff alleges that his "rights under the CBA were expressed and implied," and
that his reasonable expectation to receive the rights and benefits of the CBA was denied
when the USPS "breached the CBA [CBA] and their fiduciary duties owed to Plaintiff by
acting in bad faith according to§ 205 of the Restatement (Second) of Contracts." Plaintiff
alleges that the USPS "breached the collective bargaining agreement when the agency
failed to offer reasonable accommodate Plaintiffs injury" through denial of time-off and
failing to transfer his work location and restrict his work schedule. Plaintiff alleges that
the CBA contained "an implied covenant of good faith and fair dealing that neither party
will do anything which injures the right of the other to receive the benefits of the
agreement." Plaintiff also alleges that he was falsely induced to join the USPS "on the
basis of retirement plans and other conduct which led him to believe that his job with the
[USPS] was permanent barring misconduct or financial downturn."

       In his complaint in Case Number 15-1501, plaintiff alleges that jurisdiction is proper
pursuant to 28 U.S.C. § 1491 and because "[t]he proceeds from any of the claims are
greater than $10,000." Plaintiff also alleges that "[s]upplemental [j]urisdiction is proper
under "28 U.S.C. § 1367."4 In Case Number 15-1501, defendant also has filed a motion


4   The statute at 28 U.S.C. § 1367 states:

         (a) Except as provided in subsections (b) and (c) or as expressly provided
             otherwise by Federal statute, in any civil action of which the district
             courts have original jurisdiction, the district courts shall have
             supplemental jurisdiction over all other claims that are so related to
             claims in the action within such original jurisdiction that they form part of
             the same case or controversy under Article Ill of the United States
             Constitution. Such supplemental jurisdiction shall include claims that
             involve the joinder or intervention of additional parties.

         (b) In any civil action of which the district courts have original jurisdiction
             founded solely on section 1332 of this title, the district courts shall not
             have supplemental jurisdiction under subsection (a) over claims by
             plaintiffs against persons made parties under Rule 14, 19, 20, or 24 of
             the Federal Rules of Civil Procedure, or over claims by persons
             proposed to be joined as plaintiffs under Rule 19 of such rules, or
             seeking to intervene as plaintiffs under Rule 24 of such rules, when
             exercising supplemental jurisdiction over such claims would be
             inconsistent with the jurisdictional requirements of section 1332.

         (c) The district courts may decline to exercise supplemental jurisdiction over
             a claim under subsection (a) if-


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to dismiss, asserting that plaintiff's claims are barred by 28 U.S.C. § 1500 (2012), are
outside the statute of limitations, that this court lacks jurisdiction to hear certain of
plaintiff's claims, and that plaintiff has failed to state a claim upon which relief may be
granted.

       As relief, in Case Number 15-1200 and Case Number 15-1501, plaintiff seeks a
judgment from this court granting him relief, including the following: "Reinstatement in
connection with the termination of Plaintiffs employment with back pay and interest, front
pay if reinstatement is unavailable, loss benefits, and promotion;" "For general and
compensatory damages according to proof;" "For special damages according to proof;"
"For personal property damages according to proof;" "For pre-judgment and post-
judgment interest as allowed by law;" "For costs of suit incurred herein;" to "rescind or set
aside the November 18, 2005 settlement agreement;" "remand my administrative
complaint with the U.S. Merit System Protection Board;" and to "grant any monetary
damages or awards the Court deems appropriate."

                                            DISCUSSION

       The court recognizes that plaintiff is proceeding pro se, without the assistance of
counsel. When determining whether a complaint filed by a .P!Q se plaintiff is sufficient to
invoke review by a court, pro se plaintiffs are entitled to liberal construction of their
pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations
contained in a .P!Q se complaint be held to "less stringent standards than formal pleadings
drafted by lawyers"), reh'g denied, 405 U.S. 948 (1972); see also Erickson v. Pardus, 551
U.S. 89, 94 (2007); Hughes v. Rowe, 449 U.S. 5, 9-10 (1980); Estelle v. Gamble, 429
U.S. 97, 106 (1976), reh'g denied, 429 U.S. 1066 (1977); Matthews v. United States, 750
F.3d 1320, 1322 (Fed. Cir. 2014); Diamond v. United States, 115 Fed. Cl. 516, 524, affd,
603 F. App'x 947 (Fed. Cir. 2015), cert. denied 135 S. Ct. 1909 (2015). "However, "'[t]here
is no duty on the part of the trial court to create a claim which [the plaintiff] has not spelled

               (1) the claim raises a novel or complex issue of State law,
               (2) the claim substantially predominates over the claim or claims over which
               the district court has original jurisdiction,
               (3) the district court has dismissed all claims over which it has original
       jurisdiction, or
               (4) in exceptional circumstances, there are other compelling reasons for
       declining jurisdiction.

28 U.S.C. § 1367(a-c) (2012); see also Arbaugh v. Y & H Corp., 546 U.S. 500, 506 n. 5
(2006). As noted by another Judge of the Court of Federal Claims, "28 U.S.C. § 1367
does not confer any jurisdiction upon the United States Court of Federal Claims because
only the United States District Courts are authorized to exercise supplemental
jurisdiction." Hall v. United States, 69 Fed. Cl. 51, 57 (2005); see also Trek Leasing, Inc.
v. United States, 62 Fed. Cl. 673, 678 (2004) (indicating 28 U.S.C. § 1367 "only applies
specifically to federal district courts."). Therefore, this court cannot exercise supplemental
jurisdiction over any of plaintiff's claims.

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out in his [or her] pleading."'" Lengen v. United States, 100 Fed. Cl. 317, 328 (2011)
(alterations in original) (quoting Scogin v. United States, 33 Fed. Cl. 285, 293 (1995)
(quoting Clark v. Nat'I Travelers Life Ins. Co., 518 F.2d 1167, 1169 (6th Cir. 1975))); see
also Bussie v. United States, 96 Fed. Cl. 89, 94, aff'd, 443 F. App'x 542 (Fed. Cir. 2011 );
Minehan v. United States, 75 Fed. Cl. 249, 253 (2007). "While a prose plaintiff is held to
a less stringent standard than that of a plaintiff represented by an attorney, the pro se
plaintiff, nevertheless, bears the burden of establishing the Court's jurisdiction by a
preponderance of the evidence." Riles v. United States, 93 Fed. Cl. 163, 165 (2010) (citing
Hughes v. Rowe, 449 U.S. at 9 and Taylor v. United States, 303 F.3d 1357, 1359 (Fed.
Cir.) ("Plaintiff bears the burden of showing jurisdiction by a preponderance of the
evidence."), reh'g and reh'g en bane denied (Fed. Cir. 2002)); see also Shelkofsky v.
United States, 119 Fed. Cl. 133, 139 (2014) ("[W]hile the court may excuse ambiguities
in a pro se plaintiff's complaint, the court 'does not excuse [a complaint's] failures."'
(quoting Henke v. United States, 60 F.3d 795, 799 (Fed. Cir. 1995)); Harris v. United
States, 113 Fed. Cl. 290, 292 (2013) ("Although plaintiff's pleadings are held to a less
stringent standard, such leniency 'with respect to mere formalities does not relieve the
burden to meet jurisdictional requirements.'" (quoting Minehan v. United States, 75 Fed.
Cl. at 253)). Plaintiff has also filed applications to proceed in forma pauperis in Case
Number 15-1200 and Case Number 15-1501. For the reasons discussed below, plaintiff's
applications to proceed in forma pauperis in Case Number 15-1501 and Case Number
15-1200 are deemed moot.

        It is well established that '"subject-matter jurisdiction, because it involves a court's
power to hear a case, can never be forfeited or waived.'" Arbaugh v. Y & H Corp., 546
U.S. at 514 (quoting United States v. Cotton, 535 U.S. 625, 630 (2002)). "[F]ederal courts
have an independent obligation to ensure that they do not exceed the scope of their
jurisdiction, and therefore they must raise and decide jurisdictional questions that the
parties either overlook or elect not to press." Henderson ex rel. Henderson v. Shinseki,
562 U.S. 428, 434 (2011 ); see also Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012) ("When
a requirement goes to subject-matter jurisdiction, courts are obligated to consider sua
sponte issues that the parties have disclaimed or have not presented.''); Hertz Corp. v.
Friend, 559 U.S. 77, 94 (2010) ("Courts have an independent obligation to determine
whether subject-matter jurisdiction exists, even when no party challenges it." (citing
Arbaugh v. Y & H Corp., 546 U.S. at 514)); Special Devices, Inc. v. OEA, Inc., 269 F.3d
1340, 1342 (Fed. Cir. 2001) ("[A] court has a duty to inquire into its jurisdiction to hear
and decide a case." (citing Johannsen v. Pay Less Drug Stores N.W., Inc., 918 F.2d 160,
161 (Fed. Cir. 1990)); View Eng'g, Inc. v. Robotic Vision Sys., Inc., 115 F.3d 962, 963
(Fed. Cir. 1997) ("[C]ourts must always look to their jurisdiction, whether the parties raise
the issue or not."). "Objections to a tribunal's jurisdiction can be raised at any time, even
by a party that once conceded the tribunal's subject-matter jurisdiction over the
controversy.'' Sebelius v. Auburn Reg'I Med. Ctr., 133 S. Ct. 817, 824 (2013); see also
Arbaugh v. Y & H Corp., 546 U.S. at 506 ('The objection that a federal court lacks subject-
matter jurisdiction ... may be raised by a party, or by a court on its own initiative, at any
stage in the litigation, even after trial and the entry of judgment."); Cent. Pines Land Co ..
L.L.C. v. United States, 697 F.3d 1360, 1364 n.1 (Fed. Cir. 2012) ("An objection to a
court's subject matter jurisdiction can be raised by any party or the court at any stage of


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litigation, including after trial and the entry of judgment." (citing Arbaugh v. Y & H Corp .,
546 U.S. at 506-07)); Rick's Mushroom Serv., Inc. v. United States, 521 F.3d 1338, 1346
(Fed. Cir. 2008) ("[A]ny party may challenge, or the court may raise sua sponte, subject
matter jurisdiction at any time." (citing Arbaugh v. Y & H Corp., 546 U.S. at 506; Folden
v. United States, 379 F.3d 1344, 1354 (Fed. Cir.), reh'g and reh'g en bane denied (Fed .
Cir. 2004), cert. denied, 545 U.S. 1127 (2005); and Fanning, Phillips & Molnar v. West,
160 F.3d 717, 720 (Fed. Cir. 1998))); Pikulin v. United States, 97 Fed. Cl. 71, 76, appeal
dismissed, 425 F. App'x 902 (Fed. Cir. 2011 ). In fact, "[s]ubject matter jurisdiction is an
inquiry that this court must raise sua sponte, even where . . . neither party has raised this
issue. " Metabolite Labs ., Inc. v. Lab. Corp . of Am. Holdings, 370 F.3d 1354, 1369 (Fed.
Cir.) (citing Textile Prods .. Inc. v. Mead Corp., 134 F.3d 1481, 1485 (Fed. Cir.), reh'g
denied and en bane suggestion declined (Fed. Cir.), cert. denied, 525 U.S. 826 (1998)),
reh'g and reh'g en bane denied (Fed. Cir. 2004), cert. granted in part sub. nom Lab. Corp.
of Am. Holdings v. Metabolite Labs .. Inc., 546 U.S . 975 (2005), cert. dismissed as
improvidently granted, 548 U.S. 124 (2006); see also Avid Identification Sys., Inc. v.
Crystal Import Corp., 603 F.3d 967 , 971 (Fed . Cir.) ("This court must always determine
for itself whether it has jurisdiction to hear the case before it, even when the parties do
not raise or contest the issue."), reh'g and reh'g en bane denied, 614 F.3d 1330 (Fed. Cir.
2010), cert. denied, 131 S. Ct. 909 (2011) .

         "Determination of jurisdiction starts with the complaint, which must be well-
pleaded in that it must state the necessary elements of the plaintiff's claim, independent
of any defense that may be interposed ." Holley v. United States, 124 F.3d 1462, 1465
(Fed . Cir.) (citing Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1
(1983)), reh'g denied (Fed. Cir. 1997); see also Klamath Tribe Claims Comm. v. United
States, 97 Fed . Cl. 203, 208 (2011); Gonzalez-Mccaulley Inv. Grp., Inc. v. United States,
93 Fed . Cl. 710, 713 (2010). A plaintiff need only state in the complaint "a short and plain
statement of the grounds for the court's jurisdiction," and "a short and plain statement of
the claim showing that the pleader is entitled to relief." RCFC 8(a)(1 ), (2) (2015); Fed. R.
Civ. P. 8(a)(1), (2) (2016); see also Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009) (citing
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-57, 570 (2007)). However, "[c]onclusory
allegations of law and unwarranted inferences of fact do not suffice to support a claim ."
Bradley v. Chiron Corp., 136 F.3d 1317, 1322 (Fed. Cir. 1998); see also Mczeal v. Sprint
Nextel Corp., 501 F.3d 1354, 1363 n.9 (Fed. Cir. 2007) (Dyk, J., concurring in part,
dissenting in part) (quoting C. Wright and A. Miller, Federal Practice and Procedure §
1286 (3d ed. 2004)). "A plaintiff's factual allegations must 'raise a right to relief above the
speculative level' and cross 'the line from conceivable to plausible."' Three S Consulting
v. United States, 104 Fed. Cl. 510, 523 (2012) (quoting Bell Atl. Corp. v. Twombly, 550
U.S. at 555), aff'd, 562 F. App'x 964 (Fed. Cir.), reh'g denied (Fed . Cir. 2014). As stated
in Ashcroft v. Iqbal , "[a] pleading that offers 'labels and conclusions' or 'a formulaic
recitation of the elements of a cause of action will not do.' 550 U.S. at 555. Nor does a
complaint suffice if it tenders 'naked assertion[s]' devoid of 'further factual enhancement."'
Ashcroft v. Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. at 555).

       The Tucker Act grants jurisdiction to this court as follows:



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      The United States Court of Federal Claims shall have jurisdiction to render
      judgment upon any claim against the United States founded either upon the
      Constitution, or any Act of Congress or any regulation of an executive
      department, or upon any express or implied contract with the United States,
      or for liquidated or unliquidated damages in cases not sounding in tort.

28 U.S.C. § 1491 (a)(1) (2012). As interpreted by the United States Supreme Court, the
Tucker Act waives sovereign immunity to allow jurisdiction over claims against the United
States (1) founded on an express or implied contract with the United States, (2) seeking
a refund from a prior payment made to the government, or (3) based on federal
constitutional, statutory, or regulatory law mandating compensation by the federal
government for damages sustained. See United States v. Navajo Nation, 556 U.S. 287,
289-90 (2009); United States v. Mitchell, 463 U.S. 206, 216 (1983); see also Greenlee
Cnty., Ariz. v. United States, 487 F.3d 871, 875 (Fed. Cir.), reh'g and reh'g en bane denied
(Fed. Cir. 2007), cert. denied, 552 U.S. 1142 (2008); Palmer v. United States, 168 F.3d
1310, 1314 (Fed. Cir. 1999).

       "Not every claim invoking the Constitution, a federal statute, or a regulation is
cognizable under the Tucker Act. The claim must be one for money damages against the
United States .... "United States v. Mitchel!, 463 U.S. at 216; see also United States v.
White Mountain Apache Tribe , 537 U.S. 465, 472 (2003); Sm ith v. United States, 709
F.3d 1114, 1116 (Fed. Cir.), cert. denied, 134 S. Ct. 259 (2013); RadioShack Corp. v.
United States, 566 F.3d 1358, 1360 (Fed . Cir. 2009); Rick's Mushroom Serv., Inc. v.
United States, 521 F.3d at 1343 ("[P]laintiff must ... identify a substantive source of law
that creates the right to recovery of money damages against the United States."); Golden
v. United States, 118 Fed. Cl. 764, 768 (2014). In Ontario Power Generation. Inc. v.
United States, the United States Court of Appeals for the Federal Circuit identified three
types of monetary claims for which jurisdiction is lodged in the United States Court of
Federal Claims. The court wrote:

      The underlying monetary claims are of three types .... First, claims alleging
      the existence of a contract between the plaintiff and the government fall
      within the Tucker Act's waiver .. .. Second, the Tucker Act's waiver
      encompasses claims where "the plaintiff has paid money over to the
      Government, directly or in effect, and seeks return of all or part of that sum."
      Eastport S.S. [Corp. v. United States, 178 Ct. Cl. 599, 605-06,] 372 F.2d
      [1002,] 1007-08 [(1967)] (describing illegal exaction claims as claims "in
      which 'the Government has the citizen's money in its pocket"' (quoting
      Clapp v. United States, 127 Ct. Cl. 505, 117 F. Supp. 576, 580 (1954)) ....
      Third, the Court of Federal Claims has jurisdiction over those claims where
      "money has not been paid but the plaintiff asserts that he is nevertheless
      entitled to a payment from the treasury." Eastport S.S., 372 F.2d at 1007.
      Claims in this third category, where no payment has been made to the
      government, either directly or in effect, require that the "particular provision
      of law relied upon grants the claimant, expressly or by implication, a right to
      be paid a certain sum." .!sl; see also [United States v. JTestan, 424 U.S.


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       [392,] 401-02 [1976] ("Where the United States is the defendant and the
       plaintiff is not suing for money improperly exacted or retained, the basis of
       the federal claim-whether it be the Constitution, a statute, or a regulation-
       does not create a cause of action for money damages unless, as the Court
       of Claims has stated, that basis 'in itself ... can fairly be interpreted as
       mandating compensation by the Federal Government for the damage
       sustained."' (quoting Eastport S.S., 372 F.2d at 1009)). This category is
       commonly referred to as claims brought under a "money-mandating"
       statute.

Ontario Power Generation. Inc. v. United States, 369 F.3d 1298, 1301 (Fed. Cir. 2004);
see also Twp. of Saddle Brook v. United States, 104 Fed. Cl. 101, 106 (2012).

       To prove that a statute or regulation is money-mandating, a plaintiff must
demonstrate that an independent source of substantive law relied upon '"can fairly be
interpreted as mandating compensation by the Federal Government."' United States v.
Navajo Nation, 556 U.S. at 290 (quoting United States v. Testan, 424 U.S. 392, 400
(1976)); see also United States v. White Mountain Apache Tribe, 537 U.S. at 472; United
States v. Mitchell, 463 U.S. at 217; Blueport Co .. LLC v. United States, 533 F.3d 1374,
1383 (Fed. Cir. 2008), cert. denied, 555 U.S. 1153 (2009). The source of law granting
monetary relief must be distinct from the Tucker Act itself. See United States v. Navajo
Nation, 556 U.S. at 290 (The Tucker Act does not create "substantive rights; [it is simply
a] jurisdictional provision[] that operate[s] to waive sovereign immunity for claims
premised on other sources of law (e.g., statutes or contracts)."). "'If the statute is not
money-mandating, the Court of Federal Claims lacks jurisdiction, and the dismissal
should be for lack of subject matter jurisdiction."' Jan's Helicopter Serv .. Inc. v. Fed .
Aviation Admin., 525 F.3d 1299, 1308 (Fed. Cir. 2008) (quoting Greenlee Cnty., Ariz. v.
United States, 487 F.3d at 876); Fisher v. United States, 402 F.3d 1167, 1173 (Fed. Cir.
2005) (The absence of a money-mandating source is "fatal to the court's jurisdiction under
the Tucker Act."); Peoples v. United States, 87 Fed. Cl. 553, 565-66 (2009).

        As a threshold issue, defendant argues that plaintiff's Case Number 15-1501 is
barred under 28 U.S.C. § 1500 because plaintiff had a pending matter in another federal
court when he filed his complaint in Case Number 15-1501 in this court on December 11,
2015. In its motion to dismiss, defendant alleges that Hood v. United States Postal
Service, 1: 14-cv-01104 (W.D. Mich. July 10, 2015), is currently pending on appeal, and
is largely based on the same subject matter and raises the same issues as Case Number
 15-1501. Defendant argues that, even if it could be determined that plaintiff has submitted
a claim under a money-mandating statute and has otherwise complied with the
jurisdictional requirements of the Tucker Act, 28 U.S.C. § 1491, subject matter jurisdiction,
nevertheless, would be barred by 28 U.S.C. § 1500. The statute at 28 U.S.C. § 1500
provides:

       The United States Court of Federal Claims shall not have jurisdiction of any
       claim for or in respect to which the plaintiff or his assignee has pending in
       any other court any suit or process against the United States or any person


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       who, at the time when the cause of action alleged in such suit or process
       arose, was, in respect thereto, acting or professing to act, directly or
       indirectly under the authority of the United States.

28 U.S.C. § 1500. The application of section 1500 turns on whether plaintiff had pending,
at the time he filed suit in the Court of Federal Claims, a suit in another court against the
United States or a person acting under authority of the United States, based on
substantially the same operative facts as the suit filed in this court, regardless of the relief
sought. See United States v. Tohono O'Odham Nation, 563 U.S. 307, 315 (2011). "The
question of whether another claim is 'pending' for purposes of§ 1500 is determined at
the time at which the suit in the Court of Federal Claims is filed, not the time at which the
Government moves to dismiss the action ." Loveladies Harbor. Inc. v. United States, 27
F.3d 1545, 1548 (Fed. Cir. 1994) (discussing the Supreme Court's opinion in Keene Corp .
v. United States, 508 U.S. 200 (1993)). Indeed, '"the jurisdiction of the Court depends
upon the state of things at the time of the action brought.'" Keene Corp. v. United States,
508 U.S. at 207 (quoting Mollan v. Torrance, 22 U.S. 537, 539 (1824) (Marshall, C.J .)
(other citations omitted) (noting that the Court of Federal Claims correctly applied section
1500 by "looking to the facts existing when Keene filed each of its complaints."). When a
district court has entered judgment dismissing a case, the United States Court of
Appeals for the Federal Circuit has established that once "a notice of appeal is filed," then
the case is "pending" under 28 U.S.C. § 1500. Brandt v. United States, 710 F.3d 1369,
1380 (Fed. Cir. 2013).

         The United States Supreme Court offered some clarification regarding the effect
of 28 U.S.C. § 1500 in Tohono O'Odham Nation. In the words of the United States
Supreme Court, section 1500 "bars jurisdiction in the CFC [Court of Federal Claims] not
only if the plaintiff sues on an identical claim elsewhere - a suit 'for' the same claim - but
also if the plaintiff's other action is related although not identical - a suit 'in respect to' the
same claim." United States v. Tohono O'Odham Nation, 563 U.S. at 312. The Supreme
Court explained, "two suits are for or in respect to the same claim when they are based
on substantially the same operative facts." .LQ.. at 318 (citing Keene Corp. v. United States,
508 U.S. 200, 206 (1993)).

       There is, however, no set test to determine when, according to the Supreme Court,
"two suits have sufficient factual overlap to trigger the jurisdictional bar." United States v.
Tohono O'Odham Nation, 563 U.S. at 318. Although the assessment must be on a case
by case factual basis, the Tohono O'Odham Nation case provides a general framework
for consideration. In its decision, the Supreme Court stated in Tohono O'Odham Nation:

       The remaining question is whether the Nation's two suits have sufficient
       factual overlap to trigger the jurisdictional bar. The CFC [United States
       Court of Federal Claims] dismissed the action here in part because it
       concluded that the facts in the Nation's two suits were, "for all practical
       purposes, identical." 79 Fed. Cl. 645, 656 (2007) . It was correct to do so.
       The two actions both allege that the United States holds the same assets in
       trust for the Nation's benefit. They describe almost identical breaches of


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        fiduciary duty - that the United States engaged in self-dealing and
        imprudent investment, and failed to provide an accurate accounting of the
        assets held in trust, for example. Indeed, it appears that the Nation could
        have filed two identical complaints, save the caption and prayer for relief,
        without changing either suit in any significant respect. Under § 1500, the
        substantial overlap in operative facts between the Nation 's District Court
        and CFC suits precludes jurisdiction in the CFC.

!Q.. at 317 .

        In this court, plaintiff filed his complaint in Case Number 15-1501 against the
United States on December 11, 2015. Plaintiff earlier had filed Case Number 1: 14-cv-
01104, against the USPS in the Western District of Michigan on October 24, 2014. See
Hood v. USPS, No. 14-1104. Case number 14-1104 in the district court was subsequently
dismissed on July 10, 2015 because plaintiff's claims were found to be barred by the
Settlement Agreement, untimely, and evidenced a failure to exhaust administrative
remedies. See id . On August 12, 2015 , plaintiff filed an appeal of the district court's
decision in Case Number 14-1104 in the United States Court of Appeals for the Sixth
Circuit, Hood v. United States, Case No. 1: 15-1937 (6th Cir. 2015) . As of December 11,
2015, the date that Case Number 15-1501 was filed in the United States Court of Federal
Claims, Case Number 15-1937 in the Sixth Circuit, was pending, and is still pending at
the time of issuing this decision. Therefore, in both this court and in the Sixth Circuit,
plaintiff has pending concurrent suits against the United States or a person acting under
authority of the United States. See United States v. Tohono O'Odham Nation, 563 U.S.
at 311. Because "[t]he question of whether another claim is 'pending' for purposes of
§ 1500 is determined at the time at which the suit in the Court of Federal Claims is filed,"
and Case Number 15-1937 was pending on appeal in the Sixth Circuit on December 11 ,
2015, plaintiff had a suit pending against the United States at the time he filed Case
Number 15-1501 in this court for the purposes of 28 U.S.C. § 1500. Loveladies Harbor.
Inc. v. United States, 27 F.3d at 1548.

       Comparing the complaints, including the allegations and facts alleged in plaintiff's
two concurrent lawsuits in this court and in the district court, demonstrates that the
operative facts meet the analytical framework set forth in Tohono O'Od ham Nation . See
United States v. Tohono O'Odham Nation, 563 U.S. at 311. For example:

        1. In the United States Court of Federal Claims, in Hood v. United States, Case
           No. 15-1501, at 2, plaintiff states: "On December 15, 2000, the United States,
           through its agency, USPS and its agents, Nichon Perrier (Supervisor
           Distribution Operations) and Daryle Rocco (Acting Manager Distribution
           Operations) when they negligently issued a 'Notice of Suspension of 14 days
           or Less' for absences as a result of Plaintiffs disability asthma, in violation of
           article 2.1, 5, 6 of the Collective Bargaining Agreement (CBA) and the
           Rehabilitation Act of 1973 . .. The United States, through its agency, USPS
           and its agents, failed to adhere to their statutory and contractual duties and
           Plaintiff suffered an economic injury."


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   In comparison: In the United Stated District Court of the Western District of
   Michigan in Hood v. USPS, Case No. 14-1104, at 1-2, plaintiff states: "On
   December 15, 2000, I was denied reasonable accommodations in the form of
   time off for asthma. I was issued a 'Notice of Suspension of 14 days or Less'
   for absences based my disability asthma by supervisor of distribution
   operations, Nichon Perrier and acting manager of distribution operations, Daryl
   Rocco[.]"

2. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 2, plaintiff states: "On May 10, 2001, the United States, through
   its agency, USPS and its agents, were negligent when through Hood's treating
   physician, Dr. Lawrence Probes; Plaintiff requested the following reasonable
   accommodation: 'no more than 8 hours per day or 40 hours per week and to
   be transferred to P-1 Annex site' on April 23, 2001, but request went ignored."

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 3, plaintiff states: "On May 10, 2001, I was
   discriminated against when through my treating physician, Dr. Lawrence
   Probes; I requested the following reasonable accommodation: 'no more than 8
   hours per day or 40 hours per week and to be transferred to P-1 Annex site' on
   April 23, 2001."

3. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "May 10, 2001 to January 29, 2002, the
   agency placed the Plaintiff in a position that he does not believe was
   appropriate because it forced him to work outside his physician's restrictions of
   40 hours per week and was denied placement at P-1 Annex work site ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 2, plaintiff states: "May 10, 2001 to January
   29, 2002, the agency placed me in a position that I do not believe was
   appropriate because I worked outside my physician's restrictions of 40 hours
   per week and was denied placement at P-1 Annex work site ... "

4. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "On July 23, 2001, the United States, through
   its agency, USPS and its agents, Linda Jones (Supervisor Distribution
   Operations) were negligent when they issued an investigative interview
   concerning absences that were covered by OWCP ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 3, plaintiff states: "On July 23, 2001, I was
   discriminated against when I was given an investigative interview concerning
   absences that were covered by OWCP ... "




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5. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "From May 10, 2001 until July 23, 2001, the
   agency was negligent when they ignored the Plaintiff requests for reasonable
   accommodation for his disabilities (PTSD, Depression, and Anxiety) in the form
   of time off and adhering to his physician's restrictions 'no more than 8 hours
   per day 40 hours per week and being placed at P-1 Annex work site' ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 3, plaintiff states: "From May 10, 2001 until
   July 23, 2001 the agency denied me reasonable accommodation for my
   disabilities (PTSD, Depression, and Anxiety) in the form of time off and
   adhering to my physician's restrictions 'no more than 8 hour per day 40 hours
   per week and being placed at P-1 Annex work site'."

6. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "On August 15, 2001, the United States,
   through its agency, USPS and its agents, Linda Jones (Supervisor Distribution
   Operations) were negligent when they issued a 'Notice of Suspension of 14
   days or less' to Plaintiff in connection to absences that were covered by
   OWCP ... From May 10, 2001 until August 15, 2001, the agency was negligent
   when they ignored the Plaintiffs requests for reasonable accommodation for his
   disabilities (PTSD, Depression, and Anxiety) in the form of time off and
   adhering to his physician's restrictions 'no more than 8 hours per day 40 hours
   per week and being placed at P-1 Annex work site' .. ."

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 3, plaintiff states: "On August 2, 2001, I was
   discriminated against when I was issued a 'Notice of Suspension of 14 days or
   less' in connection to absences that were covered by OWCP ... From May 10,
   2001 until August 2, 2001, the agency denied me reasonable accommodation
   for my disabilities (PTSD, Depression, and Anxiety) in the form of time off and
   adhering to my physician's restrictions 'no more than 8 hour per day 40 hours
   per week and being placed at P-1 Annex work site'."

7. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "On September 24, 2001, the United States,
   through its agency, USPS and its agents, Linda Jones (Supervisor Distribution
   Operations) were negligent when they issued an investigative interview
   concerning absences that were covered by OWCP."

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 3, plaintiff states: "On September 24, 2001, I
   was discriminated against when I was given an investigative interview
   concerning absences that were covered by OWCP ... "




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8. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 3, plaintiff states: "On October 17, 2001, the United States,
   through its agency, USPS and its agents, Linda Jones Supervisor Distribution
   Operations) were negligent when they a issued another 'Notice of Suspension
   of 14 days or less' in connection to absences that were covered by OWCP ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 5, plaintiff states: "On October 17, 2001, I was
   discriminated against when I was issued another 'Notice of Suspension of 14
   days or less' in connection to absences that were covered by OWCP ... "

9. In the United States Court of Federal Claims, in Hood v. United States, Case
   No. 15-1501, at 4, plaintiff states: "On December 15, 2001, the United States,
   through its agency, USPS and its agents, Pamela A. Bronson (Supervisor
   Distribution Operations) were negligent when they issued a 'Letter of Intent of
   Removal' in connection to absences that were covered by OWCP ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 4, plaintiff states: "On December 15, 2001, I
   was discriminated against when I was issued 'Letter of Intent of Removal' in
   connection to absences that were covered by OWCP ... "

1O. In the United States Court of Federal Claims, in Hood v. United States, Case
    No. 15-1501, at 4, plaintiff states: "On January 14, 2002, the United States,
    through its agency, USPS and its agents, Pamela A. Bronson (Supervisor
    Distribution Operations) and Daryl Rocco (Manager Distribution Operations)
    were negligent when they issued a issued 'Letter of Removal' in connection to
    absences that were covered by OWCP ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 5, plaintiff states: "On January 14, 2002, I was
   discriminated against when I was issued 'Letter of Removal' in connection to
   absences that were covered by OWCP ... "

11. In the United States Court of Federal Claims, in Hood v. United States, Case
    No. 15-1501, at 5, plaintiff states: "On December 1, 2002, the United States,
    through its agency, USPS and its agents, were negligent when the agency
    improperly restored Plaintiff to a regular position, without medical
    restrictions ... "

   In comparison: In the United Stated District Court of the Western District of
   Michigan, Case No. 14-1104, at 6, plaintiff states: "On December 1, 2002, I was
   discriminated against when the agency improperly restored me to a regular
   position, without medical restrictions."




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       12. In the United States Court of Federal Claims, in Hood v. United States, Case
           No. 15-1501, at 5, plaintiff states: "On July 17, 2003, the United States, through
           its agency, USPS and its agents, Linda Jones (Acting Manager Distribution
           Operations) and Paris McHerron (Supervisor Distribution Operations) were
           negligent when they gave an investigative interview concerning absences that
           were covered under FMLA . .. "

            In comparison: In the United Stated District Court of the Western District of
           Michigan, Case No. 14-1104, at 7, plaintiff states: "On July 10, 2003, I was
           discriminated against when I was given an investigative interview concerning
           absences that were covered under FMLA ... "

       13. In the United States Court of Federal Claims, in Hood v. United States, Case
           No. 15-1501, at 5, plaintiff states: "From December 1, 2002 until September 12,
           2003, the United States, through its agency, USPS and its agents, were
           negligent when the agency improperly restored Plaintiff to a regular position,
           without medical restrictions and forced Plaintiff to work overtime ... "

           In comparison: In the United Stated District Court of the Western District of
           Michigan, Case No. 14-1104, at 8, plaintiff states: "From December 1, 2002
           until September 12, 2003, I was discriminated against when the agency
           improperly restored me to a regular position, without medical restrictions and
           forced me to work overtime ... "

         In light of the above, Case Number 14-1104, filed in the United States District Court
of the Western District of Michigan and appealed to the United States Court of Appeals
for the Sixth Circuit as Case Number 15-1937, and Case Number 15-1501, filed in this
court, are evidently based on substantially the same operative facts. In fact, in both cases,
plaintiff's claims are based on a nearly identical set of alleged interactions between
plaintiff and the USPS. Therefore, because on the date that plaintiff filed suit in this court,
December 11, 2015, his case in the Sixth Circuit was pending for purposes of 28 U.S.C.
§ 1500, this court is deprived of jurisdiction to hear plaintiff's overlapping claims in Case
Number 15-1501 . Moreover, at the time of this decision, the appeal at the Sixth Circuit is
still pending according to the Sixth Circuit case docket.

         Additionally, even if plaintiff's claims in Case Number 15-1501 were not barred by
28 U.S.C. § 1500, this court lacks jurisdiction over plaintiff's claims for alleged violations
of his constitutional right to due process under the Fifth Amendment to the United States
Constitution in Case Number 15-1200 and in Case Number 15-1501, violations of his
equal protection rights under the Fourteenth Amendment in Case Number 15-1200 and
Case Number 15-1501, and plaintiff's claims for "First Amendment Violation of free
Speech" in Case Number 15-1200, each of which do not mandate the payment of money.
First, insofar as plaintiff alleges a violation of his rights under the Fifth Amendment to the
United States Constitution, including for "late responses and/or other events presented in
this complaint," the United States Court of Appeals for the Federal Circuit has held that
this court does not possess jurisdiction to consider claims arising under the Due Process
Clauses of the Fifth and Fourteenth Amendments. See Crocker v. United States, 125 F.3d

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 1475, 1476 (Fed . Cir. 1997) (citing LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed.
Cir. 1995)) (no jurisdiction over a due process violation under the Fifth and Fourteenth
Amendments) ; see also Smith v. United States, 709 F.3d 1114, 1116 (Fed. Cir.) ("The
law is well settled that the Due Process clauses of both the Fifth and Fourteenth
Amendments do not mandate the payment of money and thus do not provide a cause of
action under the Tucker Act." (citing LeBlanc v. United States, 50 F.3d at 1028), cert.
denied, 134 S. Ct. 259 (2013)); In re United States, 463 F.3d 1328, 1335 n.5 (Fed. Cir.)
("[B]ecause the Due Process Clause is not money-mandating, it may not provide the basis
for jurisdiction under the Tucker Act."), reh'g and reh'g en bane denied (Fed. Cir. 2006),
cert. denied sub nom. Scholl v. United States, 552 U.S. 940 (2007); Acadia Tech., Inc. &
Global Win Tech. , Ltd. v. United States, 458 F.3d 1327, 1334 (Fed. Cir. 2006); Collins v.
United States, 67 F.3d 284, 288 (Fed. Cir.) ("[T]he due process clause does not obligate
the government to pay money damages."), reh'g denied (Fed . Cir. 1995); Mullenberg v.
United States, 857 F.2d 770, 773 (Fed. Cir. 1988) (finding that the Due Process clauses
"do not trigger Tucker Act jurisdiction in the courts"); Murray v. United States, 817 F.2d
1580, 1583 (Fed . Cir. 1987) (noting that the Fifth Amendment Due Process clause does
not include language mandating the payment of money damages); Harper v. United
States, 104 Fed. Cl. 287, 291 n.5 (2012); Hampel v. United States, 97 Fed. Cl. 235, 238,
aff'd, 429 F. App'x 995 (Fed. Cir. 2011 ), cert. denied, 132 S. Ct. 1105 (2012); McCullough
v. United States, 76 Fed. Cl. 1, 4 (2006), appeal dismissed, 236 F. App'x 615 (Fed. Cir.),
reh'g denied (Fed. Cir.), cert. denied, 552 U.S. 1050 (2007) ("[N]either the Fifth
Amendment Due Process Clause .. . nor the Privileges and Immunities Clause provides
a basis for jurisdiction in this court because the Fifth Amendment is not a source that
mandates the payment of money to plaintiff.") . Due process claims "must be heard in
District Court." Kam-Almaz v. United States, 96 Fed. Cl. 84, 89 (2011) (citing Acadia
Tech ., Inc. & Global Win Tech., Ltd . v. United States, 458 F.3d at 1334), aff'd, 682 F.3d
1364 (Fed. Cir. 2012); see also Hampel v. United States, 97 Fed. Cl. at 238. Therefore,
to the extent that plaintiff is attempting to allege due process violations under the Fifth
Amendment in either Case Number 15-1501 or 15-1200, no such cause of action can be
brought in this court.

         This Court similarly lacks jurisdiction to hear plaintiff's claims for alleged violations
of his equal protection rights under the Fourteenth Amendment to the United States
Constitution. To the extent that plaintiff raises claims under the Equal Protection Clause
of the Fourteenth Amendment, those claims do not mandate the payment of money by
the federal government and, therefore, fall outside the jurisdiction of the United States
Court of Federal Claims. See LeBlanc v. United States, 50 F.3d at 1028 (indicating that
a claim under the Equal Protection Clause of the Fourteenth Amendment is not sufficient
for jurisdiction in the United States Court of Federal Claims because it does not "mandate
payment of money by the government." (citing Carruth v. United States, 224 Ct. Cl. 422,
445 (1980))); Potter v. United States, 108 Fed. Cl. 544, 548 (2013) (finding that "this Court
lacks jurisdiction over violations under the Due Process Clauses of the Fifth and
Fourteenth Amendments . .. because they do not mandate payment of money by the
government.") (internal citations omitted) (modifications in original); Warren v. United
States, 106 Fed. Cl. 507, 511 (2012) (holding that, since the "Fourteenth Amendment
guarantee of equal protection" is not money mandating, "[a]ccordingly, the court lacks


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jurisdiction over these claims."); Pleasant-Bey v. United States, 99 Fed. Cl. 363, 367
(2011) appeal dismissed, 464 F. App'x 879 (Fed. Cir. 2012) ("However, this court does
not have jurisdiction over claims based on either the Thirteenth Amendment or Fourteenth
Amendment because neither mandates the payment of money damages."). Plaintiff's
allegations in Case Number 15-1501 and Case Number 15-1200 of equal protection
clause violations under the Fourteenth Amendment to the United States Constitution,
therefore, also cannot be adjudicated in this court.

        This court similarly lacks jurisdiction to entertain plaintiff's claims for an alleged
"First Amendment Violation of free Speech ." The First Amendment to the United States
Constitution, standing alone or otherwise, cannot be interpreted to require the payment
of money for an alleged violation, and, therefore, does not provide an independent basis
for jurisdiction in this court. See United States v. Connolly, 716 F.2d 882, 887 (Fed. Cir.
1983), cert. denied, 465 U.S. 1065 (1984) ("We agree with the Court of Claims that the
first amendment, standing alone, cannot be so interpreted to command the payment of
money."); Volk v. United States, 111 Fed. Cl. 313, 326 (2013); Cox v. United States. 105
Fed. Cl. 213, 217, appeal dismissed (Fed . Cir. 2012) ("However, because the First
Amendment, standing alone, does not obligate the United States to pay money damages,
it cannot serve as the basis for jurisdiction in the Court of Federal Claims.") (citing United
States v. Connolly, 716 F.2d at 887). Accordingly, to the extent that plaintiff is attempting
to allege a violation of the First Amendment to the United States Constitution in Case
Number 15-1501 or Case Number 15-1200, no such cause of action can be brought in
this court.

        Additionally, although this court does have jurisdiction to consider allegations of a
taking in violation of the Fifth Amendment to the United States Constitution, plaintiff's
allegations fail to state such a claim. The Takings Clause of the Fifth Amendment to the
United States Constitution provides in pertinent part: "nor shall private property be taken
for public use without just compensation." U.S. Const. amend. V. To succeed in a takings
cause of action under the Fifth Amendment, a plaintiff must show that the government
took a cognizable private property interest for public use without just compensation. See
Adams v. United States, 391 F.3d 1212, 1218 (Fed. Cir. 2004), cert. denied, 546 U.S.
811 (2005); Arbelaez v. United States, 94 Fed. Cl. 753, 762 (201 O); Gahagan v. United
States, 72 Fed. Cl. 157, 162 (2006). "The issue of whether a taking has occurred is a
question of law based on factual underpinnings." Huntleigh USA Corp v. United States,
525 F.3d 1370, 1377-78 (Fed. Cir.), cert. denied, 555 U.S. 1045 (2008) (citations omitted).
The Federal Circuit has established a two-part test to determine whether governmental
actions amount to taking of private property under the Fifth Amendment. See Klamath Irr.
Dist. v. United State§, 635 F.3d 505, 511 (Fed. Cir. 2011 ); Am. Pelagic Fishing Co. v.
United States, 379 F.3d 1363, 1372 (Fed. Cir.) (citing M & J Coal Co. v. United States,
47 F.3d 1148, 1153-54 (Fed. Cir. 1995)), reh'g en bane denied, (2004). A court first
determines whether a plaintiff possesses a cognizable property interest in the subject of
the alleged taking. Then, the court must determine whether the government action is a
'"compensable taking of that property interest.'" Huntleigh USA Corp v. United States,
525 F.3d at 1377 (quoting Am. Pelagic Fishing Co .. LP. v. United States, 379 F.3d at
1372).


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        In Case Number 15-1501, plaintiff alleges a "regulatory and physical taking of
private property" based on plaintiff's assertions that the USPS violated its "statutory and
contractual requirement's imposed by the Family Medical Leave Act ('FMLA') of 1993,
Federal Employee's Compensation Act ('FECA'), and the CBA [Collective Bargaining
Agreement]" by accelerating "Plaintiffs wrongful termination in an effort to deprive him of
his rights to life, liberty, and property (Job) to reissue it to the public. Plaintiff also claims
that in April, 2004, "[b]y confiscating, depriving, and wrongfully terminating Plaintiffs
employment, Defendant has taken Plaintiff's private property for public use without just
compensation, in violation of the Fifth Amendment to the Constitution of the United
States."

        As a threshold matter, plaintiff's regulatory and physical takings claim do not allege
a property interest subject to a valid constitutional takings claim. To the extent plaintiff
alleges that the property interest in question is his job with the USPS, plaintiff has not
sufficiently alleged a cognizable property interest. Although the United States Court of
Appeals for the Federal Circuit has recognized that a "public employee has a property
interest in continued employment" when the government gives the employee certain
"assurances of continued employment" or it "conditions dismissal only for specific
reasons.'' Mr. Hood fails to specify whether he had been given such assurances from the
government or to provide any evidence of such assurances. See Stone v. FDIC, 179 F.3d
1368, 1374 (Fed. Cir. 1999). Plaintiff also has not alleged that he possessed the right to
dispose of, transfer, or exclude others from the USPS job. Moreover, when an employee
has a property interest in his public employment, that interest is protected by the due
process clause of the Fifth Amendment to the United States Constitution. J.sL at 1374-75.
As explained previously, this court does not have jurisdiction over claims brought under
the due process clause of the Fifth Amendment. Additionally, to the extent that plaintiff's
regulatory and physical takings claims alleges that the property taken was an "ability to
secure gainful employment," his claims are more properly classified as tort claims, rather
than Fifth Amendment takings claims. See Howard v. United States, 21 Cl. Ct. 475, 478-
479 (1990). Therefore, plaintiff's regulatory and physical takings claims does not allege
a legally cognizable property interest.

       In plaintiff's second amended complaint in Case Number 15-1200 he alleges fraud
and conspiracy, which are tort claims . As such, this court lacks jurisdiction to adjudicate
those claims. The Tucker Act expressly excludes tort claims, including those committed
by federal officials, from the jurisdiction of the United States Court of Federal Claims. See
28 U.S.C. § 1491 (a) ("The United States Court of Federal Claims shall have jurisdiction
to render judgment upon any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in tort."); see also Keene Corp. v. United
States, 508 U.S. at 214; Rick's Mushroom Serv .. Inc. v. United States, 521 F.3d at 1343;
Alves v. United States, 133 F.3d 1454, 1459 (Fed. Cir. 1998); Brown v. United States,
105 F.3d 621, 623 (Fed. Cir.) ("Because Brown and Darnell's complaints for 'fraudulent
assessment[s]' are grounded upon fraud, which is a tort, the court lacks jurisdiction over


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those claims."), reh'g denied (Fed. Cir. 1997); Golden Pac. Bancorp v. United States, 15
F.3d 1066, 1070 n.8 (Fed. Cir.), reh'g denied, en bane suggestion declined (Fed. Cir.),
cert. denied, 513 U.S. 961 (1994); Hampel v. United States, 97 Fed. Cl. at 238; Jumah v.
United States, 90 Fed. Cl. 603, 607 (2009) ("[l]t is well-established that the Court of
Federal Claims does not have jurisdiction over tort claims. Here, Mr. Jumah seeks
damages for '[n]eglect, [m]isrepresentation, [f]alse [i]mprisonment, [c]onspiracy,
[i]ntentional [i]nfliction of emotional [d]istress, [i]nvasion of [p]rivacy, [n]egligence and
[t]respass and [p]unitive [d]amages.' These are all claims sounding in tort." (internal
citation omitted; all brackets in original)), aff'd, 385 F. App'x 987 (Fed. Cir. 201 O);
Woodson v. United States, 89 Fed. Cl. 640, 650 (2009); Fullard v. United States, 77 Fed.
Cl. 226, 230 (2007) ("This court lacks jurisdiction over plaintiff's conspiracy claim because
the Tucker Act specifically states that the Court of Federal Claims does not have
jurisdiction over claims 'sounding in tort.'"); Edelmann v. United States, 76 Fed. Cl. 376,
379-80 (2007) ("This Court 'does not have jurisdiction over claims that defendant
engaged in negligent, fraudulent, or other wrongful conduct when discharging its official
duties' . . . [and] Plaintiffs' claims of fraud, misrepresentation, slander, perjury,
harassment, intimidation, coercion, theft, and defamation, and their claims that the
Government deprived Ms. Edelmann of her right to a fair trial, are tort claims." (quoting
Cottrell v. United States, 42 Fed. Cl. 144, 149 (1998)); McCullough v. United States, 76
Fed. Cl. 1, 3 (2006), appeal dismissed , 236 F. App'x 615 (Fed. Cir.), reh'g denied (Fed .
Cir.), cert. denied, 552 U.S. 1050 (2007); Agee v. United States, 72 Fed. Cl. 284, 290
(2006); Zhengxing v. United States, 71 Fed. Cl. 732, 739, aff'd, 204 F. App'x 885 (Fed.
Cir.), reh'g denied (Fed. Cir. 2006). Plaintiff's claims of conspiracy and fraud sound in tort,
and, accordingly, must be dismissed for lack of jurisdiction.

        To the extent plaintiff's fraud allegations are intended as claims of contract fraud,
plaintiff has failed to properly state a claim for relief. Plaintiff alleges:

       The contract was the result of fraud, coercion, and I was under duress
       because of my psychiatric conditions. The contract is a result of undue
       influence because of the United States, through its agency, the USPS
       arbitrary, capricious, discriminatory, and fraudulent actions taken against
       me.

"In alleging fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a person's
mind may be alleged generally.'' RCFC 9(b) (2015). "Although 'knowledge' and 'intent'
may be averred generally, our precedent, like that of several regional circuits, requires
that the pleadings allege sufficient underlying facts from which a court may reasonably
infer that a party acted with the requisite state of mind." Exergen Corp. v. Wal-Mart
Stores, Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009). "Therefore, to satisfy Rule 9(b), 'the
pleading must identify the specific who, what, when, where, and how' of the alleged fraud
or mistake. Kellogg Brown & Root Servs. , Inc. v. United States, 99 Fed. Cl. 488, 495 (Cl.
Ct. 2011) (quoting Exergen, 575 F.3d at 1328).




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       Plaintiff's complaint in Case Number 15-1200 alleges that defendant engaged in
fraud, but plaintiff does not specifically identify individuals who he asserts committed such
fraudulent conduct. Plaintiff's complaint narrates an alleged story of fraud committed by
multiple actors, but plaintiff does not sufficiently allege underlying facts for this court to
understand which , if any, of the government's actions mentioned in plaintiff's complaint
were committed with the requisite state of mind. Accordingly, to the extent plaintiff's
allegations allege contract-related fraud, Mr. Hood's complaint fails to sufficiently plead
fraud in accordance with RCFC 9.

       Finally, although plaintiff also asserts an array of breach of contract claims in Case
Number 15-1200 and Case Number 15-1501, including breach of the Settlement
Agreement, breach of an implied-in-fact contract, breach of common law promissory
estoppel, breach of an implied covenant of good faith and fair dealing in regards to the
Settlement Agreement, breach of the promise to accommodate, and breach of the implied
covenant of good faith and fair dealing for failure to provide equal treatment in the
workplace, defendant properly points out that the contract claims alleged by plaintiff
appear to be time-barred pursuant to 28 U.S.C. § 2501. In reviewing both Case Number
15-1200 and Case Number 15-1501, defendant argues that the government's alleged
breaches of contract occurred between December 2000 and September 2008.
Consequently, defendant asserts that plaintiff's contract claims in Case Number 15-1501
and Case Number 15-1200 are time-barred because all of the relevant events allegedly
constituting breaches occurred more than six years before plaintiff filed his two complaints
on October 15, 2015 and December 11, 2015.

      Suits against the United States are subject to a six-year statute of limitations.
According to the statute at 28 U.S.C. § 2501 :

       Every claim of which the United States Court of Federal Claims has
       jurisdiction shall be barred unless the petition thereon is filed within six years
       after such claim first accrues .... A petition on the claim of a person under
       legal disability or beyond the seas at the time the claim accrues may be filed
       within three years after the disability ceases.

!sl "The six-year statute of limitations set forth in section 2501 is a jurisdictional
requirement for a suit in the Court of Federal Claims." John R. Sand & Gravel Co. v.
United States, 457 F.3d 1345, 1354 (Fed. Cir.) , reh'g en bane denied (Fed . Cir. 2006),
aff'd, 552 U.S. 130 (2008). The United States Court of Appeals for the Federal Circuit has
indicated that a claim accrues ""'when all events have occurred to fix the Government's
alleged liability, entitling the claimant to demand payment and sue here for his money.'""
San Carlos Apache Tribe v. United States, 639 F.3d 1346, 1358-59 (Fed. Cir.) (quoting
Samish Indian Nation v. United States, 419 F.3d 1355, 1369 (Fed . Cir. 2005) (quoting
Martinez v. United States, 333 F.3d 1295, 1303 (Fed. Cir. 2003), cert. denied, 540 U.S.
1177 (2004))), reh'g en bane denied (Fed. Cir. 2011); see also FloorPro, Inc. v. United
States, 680 F.3d 1377, 1381 (Fed . Cir. 2012); Martinez v. United States, 333 F.3d at
1303 ("A cause of action cognizable in a Tucker Act suit accrues as soon as all events
have occurred that are necessary to enable the plaintiff to bring suit, i.e., when 'all events


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have occurred to fix the Government's alleged liability, entitling the claimant to demand
payment and sue here for his money."' (quoting Nager Elec. Co. v. United States, 177 Ct.
Cl. 234, 240, 368 F.2d 847, 851 (1966), motion denied, 184 Ct. Cl. 390, 396 F.2d 977
(1968)); Hopland Band of Pomo Indians v. United States. 855 F.2d 1573, 1577 (Fed. Cir.
1988); see also Brizuela v. United States, 103 Fed. Cl. 635, 639, aff'd, 492 F. App'x 97
(Fed. Cir. 2012), cert. denied 133 S. Ct. 1645 (2013). A Judge of the United States Court
of Federal Claims has noted that:

       It is well-established that a claim accrues under section 2501 "when 'all
       events have occurred to fix the Government's alleged liability, entitling the
       claimant to demand payment and sue here for his money."' Martinez v.
       United States, 333 F.3d 1295, 1303 (Fed. Cir. 2003) (en bane), cert. denied,
       540 U.S. 1177 (2004) (quoting Nager Elec. Co. v. United States, 368 F.2d
       847, 851 (Ct. Cl. 1966)); see also Samish [Indian Nation v. United States),
       419 F.3d [1355,] 1369 [(2005)]. Because, as noted, this requirement is
       jurisdictional, plaintiff bears the burden of demonstrating that its claims were
       timely. See Alder Terrace. Inc. v. United States, 161 F.3d 1372, 1377 (Fed .
       Cir. 1998); Entines v. United States, 39 Fed. Cl. 673, 678 (1997), affd , 185
       F.3d 881 (Fed . Cir.), cert. denied, 526 U.S. 1117 (1999); see also John R.
       Sand & Gravel Co. v. United States, 457 F.3d 1345, 1362 (Fed. Cir. 2006)
       (Newman, J., dissenting); Reynolds v. Army & Air Force Exch. Serv., 846
       F.2d 746, 748 (Fed. Cir. 1988).

        Parkwood Assocs. Ltd. P'ship v. United States, 97 Fed. Cl. 809, 813-14 (2011),
aff'd, 465 F. App'x 952 (Fed. Cir. 2012); see also Klamath Tribe Claims Comm. v. United
States, 97 Fed. Cl. at 209 (citing Alder Terrace. Inc. v. United States, 161 F.3d 1372,
1377 (Fed. Cir. 1998)). Accrual of a claim is '"determined under an objective standard"'
and plaintiff does not have to possess actual knowledge of all the relevant facts in order
for a cause of action to accrue. FloorPro. Inc. v. United States, 680 F.3d at 1381 (quoting
Fallini v. United States, 56 F.3d 1378, 1380 (Fed. Cir. 1995), cert. denied, 517 U.S. 1243
(1996)).

        Although the accrual of a claim pursuant to 28 U.S.C. § 2501 may, in certain limited
scenarios, be suspended "until the claimant knew or should have known that the claim
existed," Holmes v. United States, 657 F.3d 1303, 1317 (Fed . Cir. 2011) (quoting Young
v. United States, 529 F.3d 1380, 1384 (Fed . Cir. 2008)), plaintiff's alleged "[i]gnorance of
rights which should be known is not enough" to suspend the accrual of a claim. Braude
v. United States, 585 F.2d 1049 (Ct. Cl. 1978) (quoting Japanese War Notes Claimants
Ass'n v. United States. 373 F.2d 356, 358-59 (Ct. Cl. 1967) cert. denied, 389 U.S. 971
(1967)). Rather, the accrual suspension doctrine is '"strictly and narrowly applied,'" and
the accrual date of a cause of action will be suspended in only very limited circumstances:
"[the plaintiff] must either show that defendant has concealed its acts with the result that
plaintiff was unaware of their existence or it must show that its injury was 'inherently
unknowable' at the accrual date." See Martinez v. United States, 333 F.3d at 1319
(quoting Welcker v. United States, 752 F.2d 1577, 1580 (Fed. Cir. 1985)); see also
Alliance of Descendants of Tex. Land Grants. 37 F.3d 1478, 1482 (Fed. Cir. 1994);


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Catawba Indian Tribe v. United States. 982 F.2d 1564, 1571-72 (Fed. Cir. 1993); Holmes
v. United States, 657 F.3d at 1317; Welcker v. United States, 752 F.2d at 1580; Japanese
War Notes Claimants Ass'n v. United State§, 373 F.2d at 359.

        Based on a liberal construction of plaintiff's pro se pleadings, in Case Number 15-
1501, plaintiff's factual allegations span the time frame of December 15, 2000, when the
USPS allegedly issued plaintiff a "Notice of Suspension of 14 days or Less," through
August 21, 2008, when a USPS agent allegedly delayed processing requested
information from OWCP. In Case Number 15-1200, plaintiff's breach of contract
allegations span the time frame of August 28, 2006, when Lee Bosch allegedly sent
correspondence to OWCP stating that plaintiff's employment was terminated, through
September 8, 2008, when Theresa Miller allegedly sent a CA-7a Time Analysis Form to
OWCP stating that plaintiff was terminated from employment.

        Plaintiff's argument that his claims are subject to equitable tolling also is to no avail.
The United States Supreme Court and the United States Court of Appeals for the Federal
Circuit have held that equitable tolling is not available in Tucker Act cases. See John R.
Sand & Gravel Co. v. United States, 552 U.S. 130, 134 (2008); Young v. United States,
529 F.3d 1380, 1384 (Fed. Cir. 2008). In John R. Sand & Gravel Co. v. United States, the
United States Supreme Court articulated that the six-year limitations period in 28 U.S.C.
§ 2501 is jurisdictional in Tucker Act cases, "and not susceptible to equitable tolling." John
R. Sand & Gravel Co. v. United States, 552 U.S. at 755.

        Although 28 U.S.C. § 2501 does not provide for equitable tolling, tolling for persons
with a "legal disability" can be recognized, but this does not save plaintiff's claims based
on the facts presented in plaintiff's complaints in either Case Number 15-1501 or Case
Number 15-1200. Section 2501 provides, in pertinent part: "A petition on the claim of a
person under legal disability ... at the time a claim accrues may be filed within three
years after the disability ceases." As stated in Goewey v. United States, "[t]he law
presumes sanity and competency rather than insanity and incompetency." Goewey v.
United States, 612 F.2d 539, 544 (1979). Accordingly, the plaintiff bears a heavy burden
in demonstrating the existence of a disability. ~ "[l]n order to qualify as a statutory 'legal
disability,' the [incompetency] must in some way prevent [the plaintiff's] comprehension
of his legal rights." ~ at 544. Only a "serious impediment can qualify to suspend the
running of the statute . "~

        In the present case, plaintiff has not alleged that defendant concealed the actions
which form the basis of the breach claims, or that information regarding the alleged
breaches was inherently unknowable. Plaintiff alleges that, "I only discovered the
breaches after I filed an appeal with the U.S. Merit System Protection Board [MSPB] and
requested my DOL OWCP records, it was only then did I discover that the agency
breached the agreement after reviewing my file with clarity." Plaintiff requested the DOL
OWCP records in December 2013, and his appeal before the MSPB was dismissed in
April 2014. Plaintiff also asserts that he has been "under a legal psychiatric disability since
2000 for post-traumatic stress disorder, major depression, and anxiety." Plaintiff asserts
that in 2007, he was diagnosed with "psychiatric retardation and alcohol abuse."


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Moreover, plaintiff claims that he continued to take high doses of psychiatric medication
and abuse alcohol until 2013.

        Plaintiff alleges that he was not aware of his claims until, as part of his MSPB
appeal, he participated in a conference call with Judge Puglia of the United States Merit
Systems Protection Board and he requested his records from the Department of Labor
Officer of Workers' Compensation Program. Plaintiff has not alleged that these records
were unavailable, or that he could not have accessed them, prior to December 2013.
Rather, the record suggests that the documents which plaintiff alleges contain various
breaches of the Settlement Agreement were readily available and that he received them
upon request.

        Although the unlabeled medical documents submitted to this court by plaintiff, as
an attachment to his complaint in Case Number 15-1200, suggest various medical issues,
plaintiff's complaint falls short of sufficiently asserting or establishing an inability by
plaintiff to comprehend his legal rights during the relevant statute of limitations time
period. Because the law presumes sanity and competency, plaintiff bears the heavy
burden of overcoming this presumption. See Goewey v. United States, 616 F.2d at 544.
Even a document that plaintiff submitted to the court, labeled as a physician's initial exam
and purportedly a medical record, states that, as of November 14, 2007:

       There are no signs of hallucinations, delusions, bizarre behaviors, or other
       indicators of psychotic process. Associations are intact, thinking is logical,
       and thought content is appropriate. Cognitive functioning and fund of
       knowledge is intact and age appropriate. Short and long term memory are
       intact. This patient is fully oriented. Vocabulary and fund of knowledge
       indicate cognitive functioning in the normal range. Insight into illness is
       normal. Social judgment is fair. There are no signs of anxiety. There are no
       signs of hyperactive or attentional difficulties.

       Plaintiff has not alleged sufficient facts to determine that he suffered from an
alleged disability in 2004 when he was removed from his job at the USPS, or since that
date. Because plaintiff alleges that the USPS committed multiple breaches of the
Settlement Agreement beginning on August 28, 2006 at the latest, plaintiff's claims should
have been filed on or before August 28, 2012, because the statute of limitations began to
run on August 28, 2006, "as soon as all events ha[d] occurred that are necessary to
enable the plaintiff to bring suit." Martinez v. United States, 333 F.3d at 1303.

        Furthermore, "[t]he general rule is that after the termination of a legal disability the
statute of limitations commences to run and the tolling is not reinstated by a recurrence
of the disability." Goewey v. United States, 612 F.2d at 546. Even assuming that plaintiff
at one time suffered from a legal disability, the unlabeled documents submitted by plaintiff
indicate that the disability did not exist on November 14, 2007. Once the legal disability
ceases to exist, a plaintiff must file a claim within three years thereafter. See 28 U.S.C. §
2501. Therefore, even if plaintiff's disability terminated on exactly November 14, 2007,
then, if his disability reoccurred later, the statute of limitations would have continued to


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run. Assuming plaintiff had a disability in 2006 when the claim would have otherwise
begun to accrue, plaintiff's cause of action would have expired before either complaint
was filed in this court in 2015. Plaintiff's many causes of action, including the alleged
contract claims, raised by plaintiff in Case Number 15-1501 and Case Number 15-1200
are untimely and, thus, barred from this court's consideration.

          Finally, as explained above, Mr. Hood has filed no less than three cases in this
 court asserting the same or similar allegations : Hood v. United States, 1: 15-cv-01158;
 Hood v. United States, 1:15-cv-1501 ; and Hood v. United States, 1:15-cv-1200; and a
 fourth case was sent as a transfer case to this court on May 12, 2016, Hood v. United
 States, 1:16-cv-00570 (May 12, 2016), although no transfer complaint has been filed in
this court as of the issuance of this decision. In addition, as cited above, Mr. Hood has
filed at least 16 other, related cases across the federal judiciary system. RCFC 11 grants
this court the authority to impose sanctions on parties who file frivolous or baseless
 pleadings. The court may impose RCFC 11 sanctions "in an effort to preserve judicial
 resources and deter the filing of frivolous lawsuits." Kissi v. United States, 493 F. App'x
 57, 59 (Fed. Cir. 2012) . RCFC 11 states that sanctions should be limited to what is
"sufficient to deter repetition of such conduct or comparable conduct by others similarly
 situated," and permits the imposition of nonmonetary sanctions. RCFC 11 requires that,
 by filing a complaint in this court, the plaintiff represents that "the claims, defenses, and
 other legal contentions are warranted by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law or for the establishment of new law." RCFC
 11 (b)(3). Mr. Hood's complaints in this case include allegations that are not warranted by
existing law and Mr. Hood does not put forth a nonfrivolous argument for extending,
modifying, or reversing well-established existing law that is controlling on the claims
presented in his complaints. Mr. Hood has been informed on multiple occasions by other
federal courts that his claims are time-barred or otherwise fatally flawed. Plaintiff's
purpose in continuing to file complaints putting forth the same allegations, therefore, is
frivolous and wastes valuable court resources. Therefore, the appropriate sanction in this
case is to bar plaintiff from filing any future complaints in this court without an order from
a judge of this court approving such a filing. See Bergman v. Dep't of Comm., 3 F.3d 432,
435 (Fed. Cir. 1993) (barring the filing of future appeals by plaintiff without judicial review
and approval of the appeal after referral to a judge for screening); Kissi v. United States,
493 F. App'x at 59; Aldridge v. United States, 67 Fed. Cl. 113, 124 (2005) ("Plaintiff is
further ORDERED to cease filing any further action related to Plaintiff's eviction from the
Property in the United States Court of Federal Claims. The Clerk of the Court is directed
to accept no filing from Plaintiff, without an Order of the court approving the filing.");
Hornback v. United States, 62 Fed. Cl. 1, 6 (2004) ("To prevent abuse of the judicial
process by plaintiff," the court barred future filings by plaintiff "absent advance written
permission by a judge of this court." (emphasis added)), aff'd, 405 F.3d 999 (Fed . Cir.),
reh'g en bane denied (2005); Anderson v. United States, 46 Fed. Cl. 725, 731 (2000)
("The clerk of the court is further directed not to file any pleadings or documents of any
kind, submitted by plaintiff in this court, without the advance written permission of a judge
from this court."), aff'd, 4 F. App'x 871 (Fed. Cir.), cert. dismissed, 533 U.S. 926, reconsid.
denied, 534 U.S. 809 (2001).



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                                  CONCLUSION

       For all the reasons discussed above, plaintiff's vexatious complaints in Case
Number 15-1200 and Case Number 15-1501 are DISMISSED. Plaintiff shall not file
additional complaints arising from the same facts in Case Number 15-1200 and Case
Number 15-1501 in this court without first obtaining leave of a judge of this court.
       IT IS SO ORDERED.


                                                      ARIAN BLANK HORN
                                                            Judge




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